 Case 2:21-cv-13409-JMV-JBC Document 7 Filed 01/12/22 Page 1 of 2 PageID: 78




Not for Publication

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


 RUPERT ANYAEGBUNAM,

                  Plaintiff,
                                                                Civil Action No. 21-13409
         v.
                                                                          ORDER
 ARS ACCOUNT RESOLUTION, LLC, TRANS
 UNION, LLC, EQUIFAX, LLC, & EXPERIAN,
 LLC

                  Defendants.



John Michael Vazquez, U.S.D.J.

        This matter is opened sua sponte by the Court as to Plaintiff Rupert Anyaegbunam’s

address. And it

        APPEARING that after Plaintiff filed his Complaint and application to proceed in forma

pauperis, the Clerk entered the notice of guidelines for appearing pro se. D.E. 2. The guidelines

notified Plaintiff of the following:

                It is your responsibility to keep the Court and opposing counsel, if
                any, advised of your current mailing address. Failure to do so could
                result in Court orders or other information not being timely
                delivered, which may result in your case being dismissed for failure
                to prosecute, or otherwise affect your legal rights. The Court’s local
                rules require you to file a notice of change of address with the Clerk
                of Court within seven (7) days of being apprised of any such address
                change. See Local Civil Rule 10.1(a).

Id. at 1-2; and it further
 Case 2:21-cv-13409-JMV-JBC Document 7 Filed 01/12/22 Page 2 of 2 PageID: 79




        APPEARING that, in pertinent part, Local Rule Civil Rule 10.1(a) provides that

“[c]ounsel and/or unrepresented parties must advise the Court of any change in their or their

client’s address within seven days of being apprised of such change by filing a notice of said

change with the Clerk.” L. Civ. R. 10.1(a). Local Rule Civil Rule 10.1(a) further provides

“[f]ailure to file a notice of address change may result in the imposition of sanctions by the Court.”

Id.; and it further

        APPEARING that on October 13, 2021, the Court granted Plaintiff’s application to

proceed in forma pauperis but dismissed his Complaint without prejudice. D.E. 3. The Court

directed the Clerk’s Office to send Plaintiff the Order and Opinion by regular mail and certified

mail return receipt. Id.; and it further

        APPEARING that on January 11, 2022, the Clerk indicated that the certified mailing was

“unclaimed” and that the Postal Service was “unable to forward[.]” D.E. 6; and it further

        APPEARING that on November 18, 2021, Plaintiff requested, and the Court granted, an

extension of time to file an amended complaint, D.E. 4; D.E. 5, meaning that Plaintiff did receive

the Court’s Order and Opinion, D.E. 3.

        For the foregoing reasons and good cause shown,

        IT IS on this 12th day of January, 2022,

        ORDERED that within seven (7) days of receipt of this Order, and pursuant to Local Civil

Rule 10.1(a), Plaintiff shall advise the Court in writing on the docket of Plaintiff’s current mailing

address; and it is further

        ORDERED that the Clerk shall serve this Order upon Plaintiff by regular mail and by

certified mail return receipt.

                                                       __________________________
                                                       John Michael Vazquez, U.S.D.J.

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